        Case 2:08-cr-00518-KJM Document 107 Filed 01/21/10 Page 1 of 2


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     RAYMOND EUGENE SILLS
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,       )               CR.NO.S-08-00518-LKK
10                                   )
          PLAINTIFF,                )                STIPULATION AND
11                                   )               ORDER TO CONTINUE THE
          v.                         )               JUDGMENT AND SENTENCING TO
12                                   )               TUESDAY, FEBRUARY 23, 2010
     JESS BRASIER, et al.,           )
13                                   )
                                     )
14        DEFENDANTS.                )
     ______________________________)
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorney, Mr. Michael M. Beckwith and defendant Raymond
18   Eugene Sills, represented by attorney, Mr. James R. Greiner, hereby agree and
19   stipulate that the current date for Judgment and Sentencing currently set for, Tuesday,
20   January 26, 2010, can be vacated and can be rescheduled for Tuesday, February 23,
21   2010, at 9:15 a.m. in Courtroom # 4 before the Honorable Senior District Court Judge,
22   Lawrence K. Karlton.
23         The Court’s Courtroom Deputy, Ms. Monica Narcisse, was contacted to check
24   to see if the Court is available that date, and the Court is. Probation was contacted,
25   Ms. Linda Alger, and there was no objection to the continuance.
26         The parties further agree and stipulate to the adjustment in the following dates:
27
28                                               1
       Case 2:08-cr-00518-KJM Document 107 Filed 01/21/10 Page 2 of 2


 1        Informal Objections on or before                   February 2, 2010
 2        Final Probation Report on or before                February 9, 2010
 3        Formal Objections on or before                     February 16, 2010
 4        Judgment and Sentencing                            February 23, 2010
 5        It is so agreed and stipulated to.
 6        Respectfully submitted:
 7                                   BENJAMIN B. WAGNER
                                     UNITED STATES ATTORNEY
 8
                                     /s/ Michael M. Beckwith e mail authorization
 9
     DATED: 1-20-10                  _____________________________________
10                                   Michael M. Beckwith
                                     ASSISTANT UNITED STATES ATTORNEY
11                                   ATTORNEY FOR THE PLAINTIFF
12
     DATED: 1-20-10                  /s/ James R. Greiner
13                                   ___________________________________
                                     James R. Greiner
14                                   Attorney for Defendant Raymond Eugene Sills
15
16
                                               ORDER
17
18
          FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
19
20   DATED: January 21, 2010
21
22
23
24
25
26
27
28                                               2
